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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                    )
EDDYSTONE RAIL COMPANY, LLC,                        )
    Plaintiff/Counter-defendant,                    )
                                                    )       Civil Action No. 2:17-cv-00495-JD
       v.                                           )
                                                    )
JULIO RIOS, JEREMY GAMBOA, BRIDGER                  )
LOGISTICS, LLC, FERRELLGAS PARTNERS,                )
L.P., FERRELLGAS, L.P., et al.,                     )
             Defendants,                            )
                                                    )
BRIDGER LOGISTICS, LLC, FERRELLGAS                  )
PARTNERS, L.P., and FERRELLGAS, L.P.,               )
           Defendants/Counterclaimants.             )
                                                    )


                                            ORDER

       After considering Plaintiff Eddystone Rail Company’s Motion to Enforce the Court’s

June 28 Order (the “Motion”) (Dkt. 349), any and all responses thereto, and the arguments of

counsel during a February 25, 2020 status conference, the Court ordered the parties to “meet and

confer to discuss all issues raised in the Motion and the related issues addressed in the Status

Conference and jointly submit a proposed order on or before March 6, 2020, covering a proposal

for identifying and producing all additional discoverable documents including, but not limited to,

identification of, and use of, a Discovery Master, if deemed necessary by the Court.” (Dkt. 363.)


       Following their efforts to meet and confer, the parties jointly proposed a compromise,

which the Court hereby adopts, and now, this 30th day of March, 2020, it is ORDERED that the

parties shall proceed in the following manner:
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1. Except as otherwise provided below, the BL/FG Defendants shall produce to Plaintiff any

   documents that have not yet been produced that are (a) included in the in camera sample

   submitted to the Court pursuant to its June 5, 2019 Order (Dkt. 330), (b) identified in the

   Motion and Exhibit B thereto (Dkt. 342-2), or (c) identified (by privilege log entry or

   through search terms) in the February 20, 2020 and March 4, 2020 meet and confer

   letters from Plaintiff’s counsel;


2. Notwithstanding the foregoing, and because the parties dispute whether the additional

   documents to be produced fall within the scope of the Court’s June 28 Order (Dkt. 333),

   the Court adopts the following protective measures:


       a. the BL/FG Defendants may withhold from production any documents that they

          reasonably believe (i) would be prejudicial to disclose and (ii) do not fall within

          the scope of the June 28 Order—any such documents shall be reviewed in camera

          and if they are found to fall within the four categories set forth in the June 28

          Order, they shall be produced, regardless of Defendants’ claimed prejudice,


       b. any documents produced pursuant to this Order may be designated as “HIGHLY

          CONFIDENTIAL – ATTORNEYS’ EYES ONLY” pursuant to the Stipulated

          Protective Order (Dkt. 63) (the “Protective Order”), and may be used only in

          accordance with and for the purposes set forth in Paragraph 20 of the Protective

          Order, and


       c. Defendants’ disclosure of any documents outside the scope of the June 28 Order

          shall not result in a waiver of the attorney-client privilege or work product




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          protection for any other purpose or in any other proceeding, pursuant to Fed. R.

          Evid. 502(d) and 502(e).


3. On or before the next business day following entry of this Order, the BL/FG Defendants

   shall produce the documents subject to this Order.       By April 1, 2020, the BL/FG

   Defendants shall provide Plaintiff with updated privilege log descriptions, including more

   detailed information in the “subject matter” column, for all documents withheld for in

   camera review pursuant to Paragraph 2.a of this Order. By April 8, 2020, the parties

   shall conclude meet and confer discussions in an effort to reduce the number of

   documents to be submitted for in camera review. By April 10, 2020, the parties shall

   advise the Court of the number of documents (and pages) that remain for in camera

   review, at which time the Court shall determine whether to appoint a Magistrate or

   Discovery Master, as well as the procedure for conducting an in camera review; and


4. The foregoing shall render the Motion moot and resolve Plaintiff’s objections to the

   sufficiency of the BL/FG Defendants’ privilege log, as well as the demands set forth in

   Plaintiff’s letters dated February 20, 2020 and March 4, 2020. Plaintiff seeks no further

   enforcement of the June 28 Order but reserves its right to seek further production should

   additional responsive documents or information come to light in subsequent discovery.


                                        BY THE COURT:

                                       /s/ Hon. Jan E. DuBois

                                        The Honorable Jan E. DuBois




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